         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2023-0947
                   LT Case No. 2020-CA-000067
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JOHN F. CRITTENDEN and
LAURIE B. CRITTENDEN,

    Appellants,

    v.

REGINALD H. TUMLIN, JR.,
RONALD G. TUMLIN and
REGINALD H. TUMLIN as
SUCCESSOR TRUSTEE of the
GEORGIE H. TERWILLEGAR
REVOCABLE LIVING TRUST,

    Appellees.
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On appeal from the Circuit Court for Putnam County.
Kenneth J. Janesk, II, Judge.

John D. Middleton, of Middleton &amp; Middleton, P.A., Melrose, for
Appellants.

Peter A. Robertson, of The Robertson Firm, P.A., St. Augustine,
for Appellees.

                        August 23, 2024


EDWARDS, C.J.
     Appellants, John F. Crittenden and Laurie B. Crittenden,
appeal the final judgment entered after a nonjury trial in favor of
Appellees, Reginald H. Tumlin, Jr., Ronald G. Tumlin, and
Reginald H. Tumlin, as Successor Trustees of Georgie H.
Terwillegar Revocable Living Trust. Appellants also appeal the
order denying their motion for rehearing which noted that the trial
court overlooked or ignored the testimony of its surveyor expert
witness, David Deren. Because the trial court overlooked or
ignored conflicting testimony presented at trial, which could have
resulted in a different outcome had it been considered, we reverse
and remand for the trial court to consider all the testimony and
related evidence presented at trial by all three surveyors.

     This case involves property line disputes affecting several
plots of land on the shore of a lake in Putnam County, an
associated easement, and the surrounding property. Three
surveyors, not two, testified during the two-day nonjury trial that
began on August 16, 2022. As Appellants pointed out in their
motion for rehearing, which the trial court denied without
comment, it was clear that the trial court overlooked or ignored the
testimony of the surveying expert, Deren, who testified on behalf
of Appellants.

     In the final judgment, dated December 14, 2022, the trial
court states that two surveyors were called as expert witnesses at
trial when in fact there were three: Knapp, Morris, and Deren.
Further, the trial court’s final judgment specifically refers to “a
survey certified by David Deren (another surveyor who did not
testify but who’s [sic] survey was referred [to] and relied upon by
testifying experts).” (emphasis added). In reaching its final
judgment, the trial court clearly relied upon the testimony of
Joseph Knapp, Appellees’ expert witness surveyor, while obviously
overlooking or ignoring the trial testimony of Deren. We note that
the testimony of Knapp and Deren conflicted on several critical
points concerning the boundary lines and location of the
easement. 1 This is not a case in which the trial court discounted

    1 As noted, a third surveyor expert witness, David Morris, also

testified at trial. We do note, as did the trial court, that Morris’
testimony differed from that offered by Knapp, at least as to the
location of the easement and perhaps in other regards. Morris’

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or rejected Deren’s testimony; rather, it clearly overlooked or
ignored it. Thus, we cannot say that the trial court would have
reached the same conclusion had it not overlooked or ignored this
evidence. 2

     “Where it is demonstrated that the [trial judge in a nonjury
case] overlooked or ignored evidence, which if considered by the
[judge] could change the outcome of the case, the proper remedy is
reversal and remand for consideration of this evidence.” Miami-
Dade Cnty. v. Mitchell, 159 So. 3d 172, 173 (Fla. 1st DCA 2015).
See Rivas v. Oasis Outsourcing, Inc., 147 So. 3d 670, 672 (Fla. 3d
DCA 2014); Stanifer v. Lynne Precast, Inc., 695 So. 2d 786, 786
(Fla. 1st DCA 1997); Travelodge &amp; Royal Ins. v. Pierre-Gilles, 625
So. 2d 1280, 1282 (Fla. 1st DCA 1993).

     Appellees concede that the trial court erroneously stated that
Deren did not testify at trial. We reject Appellees’ argument that
this was harmless error as we cannot conclude whether the trial
court would have reached the same results had it not overlooked
or ignored Deren’s testimony. See Special v. W. Boca Med. Ctr.,
160 So. 3d 1251 (Fla. 2014).

     Accordingly, we reverse the final judgment and remand this
matter to the trial court for further proceedings consistent with
this opinion, including for the trial court to review the testimony
and related evidence presented at trial by all three surveyor expert
witnesses, following which it must render an appropriate amended
final judgment.



testimony was referenced in the final judgment and apparently
rejected, at least in part, based on the trial court’s consideration of
Tyson v. Edwards, 433 So. 2d 549 (Fla. 5th DCA 1983). We offer
no opinion at this time on the applicability of Tyson to the facts of
this case.
    2 One might have concluded that the trial court made a simple

misstatement but for the fact that it denied Appellants’ motion for
rehearing, in which that issue was raised, without any comment
or explanation.


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    REVERSED and REMANDED with instructions.

MAKAR and PRATT, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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